      Case 4:20-cv-05640-YGR         Document 1608-1        Filed 05/23/25   Page 1 of 3



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15
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16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    DECLARATION OF YONATAN EVEN IN
21                                                   SUPPORT OF EPIC GAMES, INC.’S
                           v.                        OBJECTIONS TO SPECIAL MASTER
22
                                                     DETERMINATIONS REGARDING
      APPLE INC.,                                    REDACTED DOCUMENTS
23

24                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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     DECLARATION OF YONATAN EVEN                               CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR           Document 1608-1         Filed 05/23/25      Page 2 of 3




1           I, Yonatan Even, declare as follows:

2           1.      I am a partner at Cravath, Swaine & Moore LLP, counsel to Epic Games, Inc.

3    (“Epic”) in the above-captioned actions. I am admitted to appear before this Court pro hac vice.

4           2.      I submit this declaration in support of Epic’s Objections to Special Master

5    Determinations Regarding Redacted Documents (“Objections”), dated May 23, 2025.

6           3.      I have personal, first-hand knowledge of the facts set forth in this Declaration. If

7    called as a witness, I could and would competently testify to these facts under oath.

8           4.      Attached hereto as Exhibit A is a true and correct copy of the privilege log entries

9    provided by Apple for the documents mentioned in the Objections.

10          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

11   and correct and that I executed this declaration on May 23, 2025, in New York, New York.

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13                                                         /s/ Yonatan Even
                                                           Yonatan Even
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     DECLARATION OF YONATAN EVEN                      1           CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR           Document 1608-1        Filed 05/23/25      Page 3 of 3




1                                      E-FILING ATTESTATION

2                   I, Yonatan Even, am the ECF User whose ID and password are being used to file

3    this Declaration of Yonatan Even in Support of Epic’s Objections to Special Master

4    Determinations Regarding Redacted Documents, dated May 23, 2025. In compliance with Civil

5    Local Rule 5-1(i), I hereby attest that concurrence in the filing of this document has been obtained

6    from the signatory.

7

8                                                         /s/ Yonatan Even
                                                          Yonatan Even
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     DECLARATION OF YONATAN EVEN                      2          CASE NO. 4:20-CV-05640-YGR-TSH
